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IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE GARY S. KATZMANN, JUDGE

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                                                                     :
THE UNITED STATES                                                    :
                                                                     :
                                                                     :
                                       Plaintiff,                    : Court No. 22-00205
                                                                     :
                             v.                                      :
                                                                     :
WANXIANG AMERICA CORPORATION                                         :
                                                                     :
                                       Defendant.                    :
----------------------------------------------------------------------

                                                      ORDER

           Upon consideration of the defendant’s consent Motion to Stay Further Proceedings, it is hereby

           ORDERED, that the motion to stay is GRANTED, and it is further

           ORDERED, that further proceedings in this case are hereby stayed for 180 days.



                                                                        __________________________
                                                                        Hon. Gary S. Katzmann Judge

Dated: September __, 2024
New York, NY
